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                             UNITED STATES DISTRICT COURT                 
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )       No. 3:11-00012-25
                                              )       Judge Sharp
[25] JAMES FARLEY, JR.                        )
       a/k/a BABY JAMES                       )

                  JOINT MOTION TO ADVANCE SENTENCING DATE

       At the plea hearing in this case, the Court decided not to grant the defendant’s request for

immediate sentencing but advised the parties that the Court may be willing to advance the sentencing

date once the presentence report had been prepared and reviewed. The parties have now reviewed

the presentence report for this defendant and are ready to proceed to sentencing. The parties have

conferred and are available to conduct the sentencing hearing in this case, pursuant to the plea

agreement, on the morning of Friday, July 19, 2013 if that date is convenient for the Court.

       Therefore, the parties request the sentencing date be advanced as proposed.

                                                      Respectfully submitted,

                                                      DAVID RIVERA
                                                      Acting United States Attorney for the
                                                      Middle District of Tennessee
                                                      s/ Sunny A.M. Koshy
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